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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
vs.                                              )
                                                         Case No. 16-CR-30013-DRH-1
                                                 )
JAMES L. GARY,                                   )
                                                 )
                     Defendant.                  )

                              ORDER FOR DETENTION
WILKERSON, Magistrate Judge:

A. Overview

        This matter is before the court on the Motion for Detention filed by the government on
July 22, 2016 (Doc. 25). The motion is GRANTED. The defendant having appeared by counsel
and executed a waiver of detention hearing and consented to detention, pursuant to 18 U.S.C.
§ 3142(f) of the Bail Reform Act, the Court orders the above-named defendant detained pursuant
to 18 U.S.C. § 3142(e) and (i).

B. Statement of Reasons for the Detention

       The Court hereby ORDERS the Defendant DETAINED because it finds:

       9      By a preponderance of the evidence that no condition or combination of conditions
              will reasonably assure the appearance of the Defendant as required.
       9      By clear and convincing evidence that no condition or combinations of conditions
              will reasonably assure the safety of any other person and the community.

C. Findings of Fact
       The Court's findings are based on the information which was presented in Court and the
information contained in the Pretrial Services Report, including the following:
       9 (1) Nature and circumstances of the offense charged:
              9       (a)     The crime:

                     Count 1:
                     Conspiracy to distribute methamphetamine in violation of 21 U.S.C. §
                     846;
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                  Penalties Count 1:
                  Not more than 20 years’ imprisonment, not more than a $1,000,000
                  fine, or both, not less than 3 years’ supervised release, and a $100
                  special assessment.

                  Count 2:
                  Attempt to obtain contraband in prison in violation of 18 U.S.C. §
                  1791;

                  Penalties Count 2:
                  Not more than 20 years’ imprisonment, not more than a $250,000 fine,
                  or both, not more than 3 years’ supervised release, and a $100 special
                  assessment.

                 (b)     The offense is a crime of violence.
                 (c)     The offense is a Federal crime of terrorism.
                 (d)     The offense involves a minor victim.
           9      (e)     The offense involves a controlled substance, firearm, explosive,
                          or destructive device;
                 (f)     The offense involves a narcotic drug.
                 (g)     The offense involves a large amount of controlled substances, to
                          wit:

    9 (2) The weight of the evidence against the Defendant is high.

    9 (3) The history and characteristics of the Defendant, including:
            (a) General Factors:
                         The Defendant appears to have a mental condition which may
                          affect whether the defendant will appear.
                         The Defendant has no family ties in the area.
                   9      The Defendant has no steady employment.
                   9      The Defendant has no substantial financial resources.
                         The Defendant is not a long time resident of the community.
                   9      The Defendant does not have any significant community ties.
                         Past conduct of the Defendant:
                         The Defendant has a history relating to drug abuse.
                         The Defendant has a history relating to alcohol abuse.
                   9      The Defendant has a significant prior criminal record.
                         The Defendant has a prior record of failure to appear at court
                           proceedings.
           (b) Whether the Defendant was on probation, parole, or release by a court:
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                     At the time of the current arrest, the Defendant was on:
                            Probation
                            Parole
                            Release pending trial, sentence, appeal or completion of sentence.
              (c) Other Factors:
                            The Defendant is an illegal alien and is subject to deportation.
                            The Defendant is a legal alien and will be subject to deportation
                              if convicted.
                            Other:

 (4) The nature and seriousness of the danger by the Defendant's release are as follows:
9 (5) Rebuttable Presumptions
             The Court finds the Defendant is subject to and has not rebutted the rebuttable
             presumption that no condition or combination of conditions will reasonably assure
             the appearance of the Defendant as required and the safety of any other person and
             the community, as set forth in 18 U.S.C. § 3142(e). In determining that the
             Defendant is subject to one of the rebuttable presumptions set forth in either 18
             U.S.C. § 3142(e), the Court finds:

                     Pursuant to 18 U.S.C. § 3142(e)(2),
                       (A)          the Defendant has been convicted of a Federal
                                     offense that is described in subsection (f)(1) of this
                                     section, or of a State or local offense that would have
                                     been such an offense if a circumstance giving rise to
                                     Federal jurisdiction had existed;
                       (B)          the offense described in subparagraph (A) was
                                     committed while the defendant was on release
                                     pending trial for a Federal, State or local offense;
                                     AND
                       (C)          a period of not more than five years has elapsed since
                                     the date of conviction, or the release of the person
                                     from imprisonment for the offense described in
                                     subparagraph (A), whichever is later.
                      OR,

              9       Pursuant to 18 U.S.C. § 3142(e)(3), there is probable cause to believe that
                      the Defendant committed—
                      9 (A)          an offense for which a maximum term of
                                     imprisonment of ten years or more is prescribed in
                                     the Controlled Substances Act (21 U.S.C. §§ 801 et
                                     seq.), the Controlled Substances Import and Export
                                     Act (21 U.S.C. 951 et seq.), or chapter 705 of title
                                     46;
                       (B)          an offense under section 924(c), 956(a), or 2332b of
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                                     this title;
                       (C)          an offense listed in section 2332b(g)(5)(B) of title
                                     18, United States Code, for which a maximum term
                                     of imprisonment of 20 years or more is prescribed;
                       (D)          an offense under chapter 77 of this title for which a
                                     maximum term of imprisonment of 20 years or more
                                     is prescribed; or
                       (E)          an offense involving a minor victim under section
                                     1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
                                     2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3),
                                     2252A(a)(1), 2252A(a)(2), 2252A(a)(3),
                                     2252A(a)(4), 2260, 2421, 2422, 2423 or 2425 of this
                                     title.

D. Alternatives to Detention Considered
       The Court, in finding that there are no conditions or combination of conditions which
reasonably will assure the Defendant's appearance and the safety of any other person and the
community, has considered and rejected alternatives.

E. Additional Directives
     Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:

   1. The Defendant be committed to the custody of the Attorney General for confinement in a
      corrections facility separate, to the extent practicable, from persons awaiting or serving
      sentences or being held in custody pending appeal; and

   2. The Defendant be afforded reasonable opportunity for private consultation with counsel;
      and

   3. That, on order of a court of the United States, or on request of an attorney for the
      Government, the person in charge of the corrections facility in which the Defendant is
      confined deliver the Defendant to a United States Marshal for the purpose of an appearance
      in connection with a court proceeding.

       IT IS SO ORDERED.

       DATED: July 27, 2016


                                            DONALD G. WILKERSON
                                            United States Magistrate Judge
